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1    CENTER FOR DISABILITY ACCESS
     Raymond Ballister Jr., Esq., SBN 111282
2    Russell Handy, Esq., SBN 195058
3    Dennis Price, Esq., SBN 279082
     8033 Linda Vista Road, Suite 200
4    San Diego, CA 92111
     (858) 375-7385; (888) 422-5191 fax
5    amandas@potterhandy.com
6    Attorneys for Plaintiff ORLANDO GARCIA

7
8                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
9
10   ORLANDO GARCIA,                        )         Case No.: 2:20-CV-02481-GW-PVC
                                            )
11               Plaintiff,                 )         NOTICE OF SETTLEMENT AND
                                            )         REQUEST TO VACATE ALL
12     v.                                   )         CURRENTLY SET DATES
                                            )
13   KERDMAN PASADENA ASSOCIATES            )
     LLC, a California Limited Liability    )
14   Company; LAKESHORE EQUIPMENT           )
                                            )
15   COMPANY, a California Corporation; and )
     Does 1-10,                             )
16                                          )
                 Defendants.                )
17                                          )
18
19         The plaintiff hereby notifies the court that a global settlement has been reached in
20   the above-captioned case and the parties would like to avoid any additional expense,
21   and to further the interests of judicial economy.
22         The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
23   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
24   parties, will be filed within 60 days.
25
26                                             CENTER FOR DISABILITY ACCESS
27   Dated: May 29, 2020                             /s/Amanda Lockhart Seabock
                                                     Amanda Lockhart Seabock
28                                                   Attorney for Plaintiff

     Notice of Settlement                     -1-                2:20-CV-02481-GW-PVC
